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                                             Jeanne Brennan
                                        Salary and Tuition analysis


                                                                                           Outstanding
     Year          Rate     Salary       Bonus        Antilles Tuition   College Tuition     tuition      Total
            2000   65,000      23,125       1,000               6,465                                     30,590   1/4 year tuition benefit
            2001   65,000      67,192       2,500              13,890                                     83,582   1/2 year tuition benefit
            2002   67,999      69,615       5,000              22,750                                     97,365   3/4 year tuition benefit
            2003   74,990      77,308       5,000              33,125                                    115,433
            2004   80,000      82,000       5,000              36,775                                    123,775
            2005   84,000      86,035       5,000              38,950                                    129,985
            2006   88,200      90,508      15,000              40,650                                    146,158
            2007   93,000      95,404      20,000              28,300            30,243                  173,947   Two children at Antilles One in college full year college paid
            2008   98,000      98,000          ‐               29,700            31,484                  159,184   Two children at Antilles One in college full year college paid
            2009   98,000      98,000          ‐               15,300            32,295                  145,595   One child Antilles Two in college 1/2 year college paid

Projected 2009     98,000     98,000            ‐              15,300            32,295         32,051   177,646
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                                               Cecile de Jongh
                                         Salary and Tuition Analysis


                                                                         College     Outstanding
     Year          Annual     Salary      Bonus       Antilles Tuition   Tuition       tuition      Total
            2000    75,000      49,219       2,500               6,465                               58,184
            2001    75,000      77,923       2,500              13,890                               94,313
            2002    78,948      80,615       5,000              22,312                              107,927
            2003    86,000      90,154       5,000              32,540                              127,694
            2004    95,000      97,000       5,000              36,775                              138,775
            2005    99,000     100,919       5,000              38,950                              144,869
            2006   102,960     103,941      25,000              40,275                              169,216
            2007   105,000     107,404      25,000              27,500      41,000                  200,904
            2008   110,000     110,000         ‐                28,900      42,000                  180,900
            2009   110,000     110,000         ‐                15,300      37,771                  163,071

Projected 2009     110,000     110,000            ‐             15,300      37,771         37,361   200,432
